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 5                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 6

 7    UNITED STATES OF AMERICA,
                                                    NO: 2:12-CR-120-RMP-4
 8                              Plaintiff,
                                                    ORDER GRANTING MOTION TO
 9          v.                                      TERMINATE SUPERVISED
                                                    RELEASE
10    TROY WAYNE DAVIS,

11                              Defendant.

12

13         Before the Court is Defendant Troy Wayne Davis’ Motion for Termination

14   of Supervised Release, ECF No. 345. The Government and the U.S. Probation

15   Department have not objected to Defendant’s request. The Court has reviewed the

16   record and is fully informed.

17         Defendant represents that he has not had any violations during his two years

18   of supervised release. See ECF 345-1 at 2. He is gainfully employed, has received

19   recognition for his successful work, has abstained from drugs and alcohol, and is

20   enjoying a stable family life with his spouse. Id.




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 1         In light of the foregoing considerations, this Court finds good cause to grant

 2   Defendant’s Motion to Terminate Supervised Release pursuant to 18 U.S.C. §

 3   3583(e)(1).

 4         Accordingly, IT IS HEREBY ORDERED:

 5         1. Defendant’s Motion to Terminate Supervised Release, ECF No. 345, is

 6            GRANTED.

 7         The District Court Clerk is directed to enter this Order and to provide copies

 8   to counsel and the U.S. Probation Office.

 9         DATED this 21st day of October 2015.

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11                                                 s/ Rosanna Malouf Peterson
                                               ROSANNA MALOUF PETERSON
12                                           Chief United States District Court Judge

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     ORDER GRANTING MOTION TO TERMINATE SUPERVISED RELEASE ~ 2
